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                     EXHIBIT 6
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                                                                               Certificate No:
                            CIVIL AVIATION AUTHORITY BAHAMAS
                         CERTIFICATE OF DEREGISTRATION

Nationality & registration       Manufacturer & Designation          Aircraft Serial No.


Issue to

Basis of Registration.

Address of certificate holder.

Name and contact information of owner, if different from certificate holder:

It is hereby certified that the above described aircraft has been duly removed from the Civil
Aircraft Register of The Bahamas on              and the Certificate of Registration has been
cancelled.


Date of Issue
